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June 3, 2025

The Honorable Senator Lindsey Graham
Chairman
Subcommittee on State, Foreign Operations, and Related Programs
Committee on Appropriations
United States Senate

Dear Senator Graham:

In compliance with the Executive Order (EO) on “Continuing the Reduction of the Federal
Bureaucracy” (March 14, 2025), President Trump directed that “the non-statutory components
and functions of [the United States Agency for Global Media] shall be eliminated to the
maximum extent consistent with applicable law.” The President further directed that USAGM
shall reduce the performance if its “statutory functions and associated personnel to the minimum
presence and function required by law.”

A plan was developed by senior career USAGM leadership who assessed what the statutory
minimum is and signed-off on it; career agency staff like General Counsel Royce Min with over
20-years-experience as a federal government attorney; acting-CEO Victor Morales, a 36-year
veteran at Voice of America; Chief Financial Officer Roman Napoli, with over 20-years-
experience at USAID and Department of State; also the Directors of Human Resources; Office of
Management; and Office of Technology Services and Innovation, all signed-off on the USAGM
Statutory Minimum Memorandum. (Please see enclosed.)

While we anticipate being above the originally proposed statutory minimum staffing numbers,
the plan to effectuate the President’s Executive Order is still developing. As we work to adhere
to the EO, please consider this the required Congressional Notification to satisfy notice for the
potential reorganization, consolidations, and/or program terminations.

For questions related to this Congressional Notification, please contact me.

                                                  Sincerely,


                                                  Kari Lake
                                                  Senior Advisor to the Chief Operating Officer
Enclosure: USAGM Stat Min
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Roman Napoli,                CFO


   Crystal Thomas                   HR Director

   Christopher A. Luer       CMO, Acting

    Terry Balazs, Director, TSI
